       Case: 3:20-cv-00107-jdp Document #: 15-1 Filed: 04/29/20 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WISCONSIN

 AMY CHILDERS, BARRY EARLS,                        Case No. 20 CV 107
 THOMAS FETSCH, CODY ITALIA,
 DAVID KIEL, NAZAR MANSOOR,
 DEBBIE RIDER, TRENT SHORES,
 STEVE SCHUSSLER, CASSIE LIETAERT,
 RYAN INGALLS, CHRIS JESSIE and
 KAREN FLECKENSTEIN, individually
 and, on behalf of a class of similarly situated   ORDER
 individuals,

                Plaintiffs,

                        v.

 MENARD, INC., a Delaware corporation, and
 JOHN DOES 1-10,

                Defendants.



       Before the Court is Plaintiffs’ Motion for Extension of Time to File Opposition in Response

to Defendant’s Motion to Dismiss and Petition to Compel. Defendant does not oppose the motion.

For good cause, the motion is GRANTED. The deadline for Plaintiffs to file their responses to

Defendant’s Motion to Dismiss and Petition to Compel is hereby extended through May 18, 2020

and the deadline for Defendant’s Replies is hereby extended through June 5, 2020.



       IT IS SO ORDERED, this the ____ day of April, 2020.




                                                            James D. Peterson
                                                            United States District Court Judge
